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AO 245D (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                            UNITED STATES DISTRICT COURT
                                                                District of New Mexico

                   UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                              V.                                            (For Revocation of Probation or Supervised Release)

                      Donovan Shane Curley
                                                                            Case Number: 1:99CR00515-002JB
                                                                            USM Number: 07545-081
                                                                            Defense Attorney: John Samore, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) SC of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                  Violation Ended
Number
1                   SC - The defendant failed to notify the probation officer ten days prior to 11/01/2011
                    any change in residence or employment.

The defendant is sentenced as provided in pages 1 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has not violated condition(s)           and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

3224                                                                        July 2, 2012
Last Four Digits of Defendant's Soc. Sec. No.                                Date of Imposition of Judgment

1974                                                                         /s/ James O. Browning
Defendant's Year of Birth                                                    Signature of Judge


                                                                             Honorable James O. Browning
Pine Hill, NM                                                                United States District Judge
City and State of Defendant's Residence                                      Name and Title of Judge



                                                                             July 27, 2012
                                                                             Date Signed
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AO 245D (Rev. 12/10) Sheet 1 Judgment in a Criminal Case for Revocations Sheet                                        Judgment Page 2 of 4
1A


Defendant: Donovan Shane Curley
Case Number: 1:99CR00515-002JB


                                                        ADDITIONAL VIOLATIONS

Violation           Nature of Violation                                                           Violation Ended
Number
2                   SC - The defendant failed to notify the probation officer within 72 hours of 11/02/2011
                    being arrested or questioned by a law enforcement officer.

3                   SC - The defendant failed to report to the probation officer and failed to    11/07/2011
                    submit a truthful and complete written report within the first five days of
                    each month.
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Sheet 2 Imprisonment                                                                                                   Judgment Page 3 of 4


Defendant: Donovan Shane Curley
Case Number: 1:99CR00515-002JB


                                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 7 months.

A term of supervised release will not be reimposed.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines
with other sentencing goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable
category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is
appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court
has considered the kind of sentence and range established by the Guidelines. The Court believes that a sentence of 7 months
reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence,
protects the public and effectively provides the Defendant with needed education or vocational training and medical care, and
otherwise fully reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable.
The Court believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

d      The court makes these recommendations to the Bureau of Prisons:




c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a certified copy of this judgment.




                                                                        UNITED STATES MARSHAL
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                               By
                                DEPUTY UNITED STATES MARSHAL
